Case 3:10-cv-00188-JPG-PMF Document 308-2 Filed 07/31/12 Page 1 of 5 Page ID
                                 #10682



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                                    )
 CITY OF GREENVILLE, et aI., individ-               )
 ually, and on behalf of all others similarly       )
 situated,                                          )
                                                    )       Case No.: 3:10-cv-00188-JPG-PMF
         Plaintiffs,                                )
                                                    )
 vs.                                                )
                                                    )
 SYNGENTA CROP PROTECTION,                          )
 INC., and SYNGENTA AG,                             )
                                                    )
         Defendants.                                )
                                                    )


                              DECLARATION OF BOB L. PERICA


         I, Bob L. Perica, being first duly sworn upon my oath, depose and state as follows:

         1.      I certify that the statements set forth in this instrument are true and correct. I make

 the following statements based on my personal knowledge and if called, I could competently tes-

 tify to the matters stated herein.

        2.      I am a principal in the Perica Law Firm P.C. where I have practiced civil litigation

for more than 29 years.

        3.      Since 1988, I have lived in the Holiday Shores Subdivision, which is provided

water by the Holiday Shores Sanitary District. I also currently serve as legal counsel to the Holi-

day Shores Sanitary District.

        4.      When I first learned of the atrazine problem at Holiday Shores, I had several dis-

cussions with Attorney Roger Murphy who was then the Holiday Shores Sanitary District law-

yer. We discussed what could be done and which law firm to hire to represent the District.
Case 3:10-cv-00188-JPG-PMF Document 308-2 Filed 07/31/12 Page 2 of 5 Page ID
                                 #10683



          5.     Holiday Shores Sanitary District estimated that it had suffered millions of dollars

  in damages as the result of atrazine contamination.

         6.      However, it was also clear at the outset of this case that the risk oflosing the case

  was high and that prosecution of the matter would be expensive. The case would require the re-

  tention of a number of expensive experts and consultants as well as expensive testing.

         7.      Holiday Shores has a limited tax-base and an equally limited budget. According-

  ly, Holiday Shores lacked the ability to pay counsel on an hourly basis, to pay on-going expenses

 or bear the risk of no recovery in this action.

         8.      It was also clear to Holiday Shores at the outset that the complexity of the issues

 would also require representation with a high degree of legal skill. Holiday Shores knew of no

 other plaintiff that has previously prevailed in similar litigation. Defendants were expected to be

 formidable adversaries and were sure to be ably represented and with vast resources devoted to

 the defense of this suit.

         9.      Holiday Shores did not believe that it could retain competent counsel in this mat-

 ter for any less than an award of one-third of any recovery calculated after reimbursement of

 costs and expenses.

         10.     Both Roger Murphy and I had practiced law in Madison County, Illinois for over

 twenty-four years and were in agreement that Korein Tillery and Baron & Budd were the firms

 that would best represent the interest of the Holiday Shores Sanitary District.

         11.     Korein Tillery and Baron & Budd are both firms with a reputation for skill and

 experience in high-risk contingent litigation and agreed to take on the representation for an

 award of one-third of any recovery calculated after reimbursement of costs and expenses.




                                               2
Case 3:10-cv-00188-JPG-PMF Document 308-2 Filed 07/31/12 Page 3 of 5 Page ID
                                 #10684



         12.     They were ultimately hired by the Board. Holiday Shores Sanitary District was

 represented in these negotiations through counsel and the resulting contract was approved and

 adopted by the its governing body.

         13.     Korein Tillery provided numerous attorneys and staff to work on this case since

 2004. Stephen Tillery personally attended board meetings to provide the Sanitary District with

 periodic updates on litigation issues. Other Korein Tillery attorneys worked on discovery that

 required direct contact with employees of the Sanitary District on a frequent basis.

         14.     I attended numerous motion hearings in this litigation. The plaintiffs were always

 represented by Stephen Tillery and at least four other members of his firm. At every motion

 hearing a power point presentation was prepared and presented and each presentation included

 relevant factual material along with current and persuasive authority. These hearings sometimes

 lasted three to four hours.

         15.    I believe that the skill and expertise exhibited by Korein Tillery during these hear-

 ings made the defendants decide to settle this case. There was also information obtained through

 a grueling discovery process that also motivated the defendant to settle. One example of this

type of information was the Jane Thompson public relations material. This material would not

have been discovered but for the persistence of the Korein Tillery attorneys which I witnessed

first-hand .

        16.     The Sanitary District is extremely pleased by the efforts and outcome of this liti-

gation and are in support of these law firms receiving their entire fee and costs.

        17.     I do not know of any other firms that could have maintained eight years of payroll

for attorneys and staff in addition to advancing the costs of litigation, including travel, on a con-

tingency contract basis.




                                              3
Case 3:10-cv-00188-JPG-PMF Document 308-2 Filed 07/31/12 Page 4 of 5 Page ID
                                 #10685


         18.     In pursuing this action, Class Counsel incurred extensive expenses for which they

  will be seeking reimbursement from the common fund. I have reviewed counsel's expense sum-

  maries that will be submitted in connection with its motion for reimbursement. The expenses

  sought to be recovered include filing fees, court transcripts, PACER charges, expert witness fees,

  electronic legal research, photocopying, postage, and travel expenses. Counsel's expense sum-

  maries contain the level of detail Holiday Shores would expect, and the expenses are of the type,

 that it would ordinarily reimburse to its outside counsel.

         19.    As a practicing lawyer, I am sometimes required to detail my time and expenses

 for reimbursement in connection with a verdict or settlement. Class Counsel's expense summar-

 ies contain the level of detail normally found in the industry and the expenses are of the type,

 that are ordinarily reimbursed in the industry.

         20.    J declare under penalty of perjury that the forgoing is true and correct.

 Executed on Wednesday, July 25, 2012.




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        Case 3:10-cv-00188-JPG-PMF Document 308-2 Filed 07/31/12 Page 5 of 5 Page ID
                                         #10686


                                     IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

            CITY OF GREENVILLE, et aI., individ-              )
            ually, and on behalf of all others similarly      )
            situated,                                         )
                                                              )
                      Plaintiffs,                             )      Case No.: 3:10-cv-00188-JPG-PMF
                                                              )
            vs.                                               )
                                                              )
            SYNGENTA CROP PROTECTION,                         )
            INC., and SYNGENTA AG,                            )
                                                              )
                      Defendants.                             )


                                             CERTIFICATE OF SERVICE


                I hereby certify that on July 31, 2012, I electronically filed the foregoing document with
         the Clerk of the Court using the CMIECF system that will send notification of such filing to the
         following:

                  •   Aaron M. Zigler           •   Christopher MacNeil          •   Mark C. Surprenant
                  •   Albert Ettinger               Murphy                       •   Michael A. Pope
                  •   Brian A Fogerty           •   David M. Stein               •   Michael E. Klenov
                  •   C. Raymond Bell           •   Elizabeth A. Laughlin        •   Mitchell E. McCrea
                  •   Carla Burke               •   Holland Marie Tahvo-         •   Patricia S. Murphy
                  •   Celeste Evangelisti           nen                          •   Peter M. Schutzel
                  •   Charles Adam Cerise       •   Howard A. Leamer             •   Scott Summy
                  •   Christie R. Deaton        •   Jocelyn D. Francoeur         •   Stephen M. Tillery
                  •   Christine J. Moody        •   John C. Craig                •   Todd R. Wiener
                  •   Christopher A. Hoff-      •   Kurtis B. Reeg
                      man                       •   Lara E. White

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